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EXHIBIT 4

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SETTLEMENT TERM SHEET
SUMMARY OF PROPOSED TERMS AND CONDITIONS
JUNE 2, 2010

This summary of the principal terms and conditions ("Summary”) of a proposed
settlement has been prepared exclusively for consideration by those parties listed as Settling
Parties below (each a “Settling Pagy” and, collectively, the ‘“Settling Parties”). The proposed
settlement described in this Summary does not constitute a binding offer or agreement by any
Settling Party or any of their respective affiliates or subsidiaries, and the obligations of any of
these parties shall be only those obligations set forth in the definitive agreement approved,
executed and delivered by the Settling Parties (the "Settlement Agreement”) except that each
Settling Party agrees that (i) it will negotiate in good faith to consummate the Settlement
Agreement and all other documents contemplated thereby, and (ii) each Settling Party will seek
approval of the Settlement Agreement by the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”).

Reference is made to that certain stipulation by and among the Settling Parties dated
December 18, 2009 and so ordered by the Bankruptcy Court on December 21, 2009 and any
subsequent stipulations and orders of the Bankruptcy Court related thereto (the “Stipulation”)
and to that certain Escrow Agreement dated October 26, 2009, between Cynergy Data, LLC
(now known as CD Liquidating Co., LLC) and Wilmington Trust Company as Escrow Agent
(the “Existing Escrow Agreement”).

Reference is also made to (l) the Objection of the Terrn B Parties and Second Lien
Parties to Debtors’ Notice of lntent to Assume and Assign Certain Unexpired Leases and
Executory Contracts and Setting Cure Amounts, (2) the Objection by Moneris Solutions, lnc. to
the Proposed Assumption and Assignment of Assumed Contracts and Proposed Cure Amounts
and (3) the Response of Cynergy Holdings LLC to (i) Objection of Terrn B Parties and Second
Lien Parties to Debtors’ Notice of lntent to Assume and Assign Certain Unexpired Leases and
Executory Contracts and Setting Cure Amounts and (ii) Debtors’ Motion for an Order Pursuant
to Sections 105, 363, 365, 503 and 507 of the Bankruptcy Code and Bankruptcy Rules 2002,
6004, 6006, 9007 and 9014, Among Other Things, (a) Approving the Sale of the Assets Free and
Clear of All Liens, Claims and Encumbrances; (b) Approving Procedures for Assumption and
Assignment of Certain Executory Contracts and Unexpired Leases; and (c) Granting Related
Relief as Requested (each an “Objection” and, collectively, the “Objections”).

Summary of Settlement Terms

Settling Parties:

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Harris/Moneris

Harris N.A. and Moneris Solutions, lnc., in
its capacity and as agent for Harn`s N.A. or
their successors or assigns as BlN Sponsor
to Purchaser (collectively, “Moneris")

Term B Parties and Second Lien Parties
(collectively, “Term B Parties”)

Dymas Funding Company LLC,
individually and as agent for the Term B
Lenders and as agent for the Second Lien
Lenders (“Dymas”)

Ableco Finance LLC, as Term B Lender and
as Second Lien Lender

A3 Funding LLC, as Term B Lender and as
Second Lien Lender

Garrison Credit Investments l LLC, as Terrn
B Lender

Term A Parties

Debtors

Comerica Bank, as a Term A Lender and as
agent for the Term A Lenders

Wells Fargo Capital Finance, LLC, formerly
known as Wells Fargo Foothill, LLC, as a
Terrn A Lender

Comerica Bank, as lender to Cynergy
Liquidation Co. Plus, LLC, f/k/a Cynergy
Prosperity Plus, LLC and as agent

CD Liquidation Co., LLC, f/k/a Cynergy Data, LLC

Cynergy Data Holdings, Inc.

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CD Liquidation Co. Plus, LLC, f/k/a Cynergy
Prosperity Plus, LLC

Purchaser
Cynergy Holdings, LLC and Cynergy Data, LLC or
each of their successors and assigns as lSO under the

BIN Sponsor Agreement (collectively “Purchaser”)

Settling Parties shall include the successors and assigns of
each of the foregoing entities.

Closing Date: No later than July 29, 2010 (the “Closing Date”); unless

Settlement Escrowed Funds:

otherwise agreed to by the parties.

Upon the earliest of the following: the date on which an
order of the Bankruptcy Court is issued (x) confirming the
Debtors’ plan of reorganization, if this settlement is
incorporated into the plan or (y) approving the Settlement
Agreement; the Escrowed Funds, as such term is defined in
the Existing Escrow Agreement in the amount of
$20,004,327.49 less amounts released from the Escrowed
Funds prior to such date pursuant to the Stipulation (the
“Settlement Escrowed Funds”) shall be deposited into a
segregated, interest bearing (no risk), escrow account (the
“Settlement Escrow Account”) with an unrelated, third
party, escrow agent acceptable to each of the Settling
Parties (Wilmington Trust Company, being deemed an
acceptable escrow agent) subject to an escrow agreement in
form and substance acceptable to the Settling Parties (the
“Settlement Escrow Agreement”). The foregoing amount
includes rolling reserve releases which were included in
accounts payable of the Debtor but not paid prepetition in
the amount of $302,011.82. Until the time set forth in the
foregoing sentence, the Settlement Escrowed Funds shall
remain in the current Escrow Account as defined in and
pursuant to the Existing Escrow Agreement for distribution
under the existing Stipulation. The Settlement Escrowed
Funds shall be held in the Settlement Escrow Account to
be disbursed in accordance with the lndemnification
Coverage provisions herein and as cash collateral (“Bi_
Collateral”) for (a) the secured claims of the Term A
Parties, and the Term B Parties for obligations outstanding
under the prepetition and postpetition financing facilities (to
be defined in the Settlement Agreement) in the amounts set
forth on a schedule attached to the Settlement Agreement

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which schedule shall be updated on and as of the
Determination Date (as defined below), respectively,
including for any potential revived secured claim on
account of payment by the Terrn A Parties or Term B
Parties under the guaranty of` the lndemnifying Parties’
obligations ('described below), and (collectively, the “_Igm
A Parties Claims” and collectively, the “Term B Parties
Claims”) (b) the secured claims of Moneris for the
Indemnification set forth herein.

Prior to and including November 3, 2014 (the
“Detennination Date”), the only distributions that may be
made from the Settlement Escrow Account are (a) are
monthly disbursements from net accrued interest (net of
expenses under the Settlement Escrow Agreement) earned
on the Settlement Escrowed Funds in the Settlement
Escrow Account to Comerica Bank, as Agent for the Term
A Lenders, for application to the indebtedness of Debtors to
the Term A Parties until paid in full, and then to Dymas
Funding Company LLC, as Agent for the Terrn B Parties
for application to the indebtedness of Debtors to the Terrn
B Parties until paid in full (“lnterest Payments”), and (b) on
account of Indemnification Payments to Moneris as set
forth herein. lnterest Payments and Indemnification
Payments continue after the Deterrnination Date as set forth
below,

After the Deterrnination Date, the only distributions that
may be made from the Settlement Escrow Account are to
Moneris, the Term A Parties or the Tenn B Parties as
provided below. After the Deterrnination Date, the Term A
Parties, Term B Parties, Purchaser and Moneris will
determine the expected present value of the remaining Cure
Amount under a methodology acceptable to the parties and
distribution of the remaining Settlement Escrowed Funds,
as acceptable to such parties. Until such time as agreement
is reached and definitive documentation acceptable to
Moneris, Purchaser, the Term A Parties (unless paid in
full), and the Terrn B Parties is fully executed with respect
to the transaction in the foregoing sentence, the
lndemnification survives and Indemnification Payments
and lnterest Payments shall continue to be made from the
Settlement Escrow Account. So long as the
lndemnification survives, no other entity besides Moneris,
the Term A Parties, the Tenn B Parties and Purchaser to the
extent of Purchaser’s subrogation rights set forth herein,
will have an interest in the Settlement Escrow Account and

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lndemnified Parties:

lndemnifying Parties:

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the Settlement Escrow Account will not be disposed of or
encumbered other than as set forth herein.

The Settlement Escrow Agent’s fees and expenses shall be
provided for and paid first from the assets of the Debtor’s
estate other than the Settlement Escrowed Funds in the
Settlement Escrow Account pursuant to the confirmed plan,
and any shortfall shall be paid from accrued interest earned
on the funds in the Settlement Escrow Account. ln no
event shall the principal amount of the Settlement
Escrowed Funds in the Settlement Escrow Account be used
to pay fees and expenses of` the Settlement Escrow Agent.

lndemnification of each of Moneris Solutions, lnc. and
Harris N.A. and each of their respective parents,
subsidiaries, affiliates and their respective shareholders,
partners (both general and limited), members, officers,
directors, employees and agents and each other person, if
any, controlling each of them or any of their affiliates (each
being an “Indemnified Pa;_ty” and collectively, the
“lndemnified Parties”).

Debtors, on a limited recourse basis (recourse limited to
and capped at the principal amount of the Settlement
Escrowed Funds) (“lndemni@ing Party”). If the Term A
Parties elect after the Determination Date, and subject to
definitive agreement executed by Moneris, the Terrn A
Parties, the Term B Parties, and Purchaser, to apply all or a
portion of the Settlement Escrowed Funds to their Term A
Parties Claims or Terrn B Parties Claims, as applicable, as
permitted under that definitive agreement, then the
obligations of the Indemnifying Parties under the
Settlement Agreement will be severally guaranteed by the
Term A Parties allocated as determined by the Term A
Parties, and the amount of such guaranty shall be capped at
the principal amount of the Settlement Escrowed Funds
(excluding the amount of the lnterest Payments received by
the Term A Parties) applied by the Term A Parties to the
Terrn A Parties Claims. lf at the time of such election or
any given time thereafter, either (i) Wells Fargo Capital
Finance, LLC is no longer a subsidiary of an FDIC insured
National Association providing banking services or
Comerica Bank is no longer an FDIC insured Texas
banking corporation or (ii) the rating by any of S&P,
Moodys or Fitch of the senior debt of any Terrn A Party (or

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its parent as applicable) is no longer investment grade, then
such Term A Party may not apply any of the Settlement
Escrowed Funds (other than lnterest Payments as provided
above) to its Tenn A Party Claims unless such Terrn A
Party posts collateral, a letter of credit in favor of Moneris
or some other forrn of security agreeable to Moneris, in its
sole discretion. The Terrn B Parties may not apply any
portion of the Settlement Escrowed Funds unless and until
the Term B Parties post collateral, a letter of credit in favor
of l\/loneris or some other form of security agreeable to
Moneris, in its sole discretion. Following payment in full of
the Terrn A Parties Claims, the Terrn B Parties may
substitute and replace the Terrn A Parties as Guarantors
under an assumption agreement reasonably acceptable to
the Term A Parties, Terrn B Parties, Purchaser and the
lndemnified Parties (“Assumption Transaction”), including
both (a) a release of the Term A Parties, and (b) an
assumption by the Terrn B Parties of all of the obligations
of the Term A Parties in the Settlement Agreement,
including indemnification of the lndemnified Parties for
amounts applied by the Terrn A Parties to each of their
Term A Parties Claims from the Settlement Escrowed
Funds. lf following payment in full of the Terrn A Parties
Claims, the Term B Parties do not timely enter into an
Assumption Transaction, all of the remaining Settlement
Escrowed Funds shall be released to Moneris and held in
accordance with the Bin Sponsor Agreement and each
applicable Merchant Agreement. The Terrn A Parties,
allocated as determined by the agreement of the Term A
Parties, will severally, and after an Assumption
Transaction, the Term B Parties will as determined by
agreement of the Term B Parties, severally, guarantee in
favor of Moneris the lndemnification Payments capped at
the principal amount of the Settlement Escrow Account
applied, respectively, by the Terrn A Parties or the Terrn B
Parties to their respective Term A Parties Claims or Term
B Parties Claims. Any payments by a Term A Party (or
Term B Party as the case may be) under its guaranty of
payment shall revive the secured claim against the Debtors
of the paying Terrn A Party (or Term B Party as the case
may be) to the extent of such payments.

Notwithstanding anything to the contrary (and without
expanding any obligation of any Term A Party or Term B
Party set forth above), in no event shall any Terrn A Party
or Term B Party have any monetary or indemnity
obligations to make any payments under its guaranty to

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lndemnification Coverage:

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Moneris or a merchant (i) until such party elects after the
Determination Date to apply the Settlement Escrowed funds
to its respective Term A Parties `Claims or Term B Parties
Claims or (ii) in excess of the Settlement Escrowed Funds
(exclusive of lnterest Payments) that are applied in
satisfaction of the Term A Parties Claims of such Terrn A
Party or Term B Parties Claims of the Terrn B Party less
payments previously made under the guaranty, and with
respect to a particular merchant, in excess of the Settlement
Escrowed Funds designated for such merchant’s account;
provided that nothing herein, including the cap and
limitations on recourse with respect to lndemnification
Payments set forth herein, limits the rights and remedies of
l\/Ioneris at law or in equity for breach of the Settlement
Agreement

Where (l) the applicable merchant has been identified as
having an unfunded rolling reserve in an amount per
merchant as set forth on an agreed to Schedule to the
Settlement Agreement which amount has been escrowed in
the Existing Escrow Account minus (i) any distributions
made on account of that merchant pursuant to the
Stipulation and (ii) any prior lndemnification Payments
made pursuant to the Settlement Agreement the difference
of which represents all or part of the amount sought as an
lndemnification Payment for that merchant, irrespective of
any ISO level reserves, sub-ISO level reserves, QM
reserves or any other reserves from the merchant to fund
those losses pursuant to any agreement related to the BIN
Sponsor Agreement, (2) the applicable merchant`(i) has
processed transactions resulting in settlement proceeds
which are insufficient to cover such Merchant Loss
(defined below) (to the extent of such insufficiency); (ii)
was no longer processing transactions with the Debtors
and/or is not currently processing transactions with the
Purchaser, (iii) has closed merchant accounts with the
Debtors and/or the Purchaser or (iv) has requested a return
of, or Purchaser or Moneris consistent with their ordinary
course of business have determined to return, part or all of
such merchant’s reserves in accordance with and as
provided by the terms of the applicable merchant
processing agreement, and (3) the requested payment is of
the type of payment for a Merchant Loss (as defined herein)
that would be sought to be recovered from a reserve
account if such account was funded by the Debtors as of the
Petition Date, the lndemnifying Parties shall provide

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indemnification (the “lndemnification”) to the lndemnified
Parties for such merchant for all proceedings, actions,
claims, suits, liabilities, losses, costs or expenses of any
kind (including, but not limited to fees and expenses of
legal counsel) attributed to a merchant, including all
chargebacks, claims, fees, fines, returns, uncollected
amounts due from such merchant, fraudulent practices of
such merchant, attorneys fees incurred for collection, or
requests for repayment of reserves (each a “Merchant
LQ_S_§”)-

lf the lndemnified Parties fail to take timely action to seek
an lndemnification Payment (action within 7 Business Days
of receipt by Moneris of a certification by Purchaser of a
Merchant Loss would be considered timely), then Purchaser
may send written notice to Moneris identifying such failure
consistent with the terms of the Settlement Agreement and
providing details of any Merchant Loss certified by an
officer of Purchaser and if Moneris fails to take action
within 7 Business Days of such notice, then to the extent
such Merchant Losses otherwise would have been
indemnified by the lndemnifying Parties, Purchaser shall be
subrogated to the rights of the lndemnified Parties with
respect to such Merchant Loss.

Timing of lndemnification Moneris will give notice to (a) the Settlement Escrow
Payment Agent, (b) Purchaser, (c) Comerica, as agent for Term A
Parties, or, after an Assumption Transaction, Dymas, as
agent for the Term B Parties, and (d) one individual
designee of Comerica or, after an Assumption Transaction,
of Dymas, on any Business Day (a “Payment Date”), on
which Moneris wishes to collect a payment pursuant to the
lndemnification (an “lndemnification Payment”). lf on any
such Payment Date, the Settlement Escrow Agent receives
not later than 11:30 a.m (Chicago, lllinois time) a written
notice from Moneris, specifying (i) that an lndemnification
Payment is to be made on such Payment Date, (ii) the
principal amount of such lndemnification Payment and (iii)
to the knowledge of Moneris, all of the applicable
conditions to such lndemnification Payment have been
satisfied, the Settlement Escrow Agent will transfer from
the Settlement Escrow Account or, if for any reason funds
are insufficient in the Settlement Escrow Account, the Term
A Parties or Term B Parties, as applicable, will transfer by,
not later than 3:30 p.rn. (Chicago, lllinois time), on such
Payment Date to Moneris’ demand deposit account, in
immediately available funds, an amount equal to such

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Security Provisions:

Litigation:

Consents:

Releases:

lndemnification Payment. ln the event that such notice is
received by Settlement Escrow Agent later than ll:30 a.m.
(Chicago, lllinois time), such indemnification Payment will
be made on the next succeeding Business Day by no later
than 3:30 p.m. (Chicago, lllinois time), Within 35 Business
Days after the applicable Payment Date occurs, Comerica
(or the Terrn B Parties’ Agent if applicable after an
Assumption Transaction), may provide notice of a request
for return and recovery from Moneris of all or part of any
such lndemnification Payment made on the Payment Date
only because such payment was paid in error and was not
otherwise due and owing to Moneris or a merchant. The
Settlement Agreement will provide for a dispute
mechanism if such a notice is delivered.

The obligations of lndemnifying Parties to indemnify the
lndemnified Parties shall be secured by a perfected first
priority security interest in the Settlement Escrow Account,
including execution of a Demand Account Control
Agreement, reasonably satisfactory to Moneris.

Hearing dates and other scheduling dates set forth in the
Stipulation remain until Bankruptcy Court approval of the
Settlement Agreement

Withdrawal of all Objections upon approval of Settlement
Agreement

Purchaser

Creditors Committee

Bankruptcy Court Approval

Must bind any trustee - chapter 7 or 11.

Full release of any and all claims against Moneris arising
on or before the date of the Bankruptcy Court order
approving the Settlement Agreement and related in any way
to the Settlement Escrowed Funds, Bin Sponsor Agreement
or the Debtors, by the Debtors, Term A Parties, Term B
Parties, Garrison Credit Opportunities Holdings, L.P. and
Committee, except with respect to: (i) claims as set forth in
the Settlement Agreement, (ii) claims for breach under the
Settlement Agreement and (iii) claims for disgorgement by
Moneris under the Order dated December December 21,
2009 (Docket No. 498) by the Bankruptcy Court in
Debtors’ bankruptcy cases regarding, among other things,
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Legal Fees and Costs

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releases of escrowed funds, provided, however that claims
on account of such potential disgorgement obligations shall
be included in the claims released if none of Debtors, Term
A Parties, Terrn B Parties, or the Committee provide to
Moneris, within 35 Business Days after the date upon
which the Bankruptcy Court enters an order approving the
Settlement Agreement, a notice of request for return and
recovery of all or part of any payments received under the
Grder. Release by Purchaser of claims against Moneris, but
solely to the extent relating to the lndemnification
Payments received and used by Moneris to cover a
Merchant Loss and not otherwise disgorged.

 

F or the avoidance of doubt, the Settlement Agreement does
not release claims as between the Debtors and Purchaser.

Full release of any and all claims arising on or before the
date of the Bankruptcy Court order approving the
Settlement Agreement by Moneris of the Debtors, Term A
Parties, Term B Parties, Garrison Credit Opportunities
Holdings, L.P. and Committee related to the Settlement
Escrowed Funds, Bin Sponsor Agreement or the Debtors
except (i) claims as set forth in the Settlement Agreement,
and (ii) claims for breach under the Settlement Agreement
F or the avoidance of doubt, the Settlement Agreement does
not release claims by Moneris against Purchaser for
liabilities of the Debtors which were assumed by Purchaser,
or adversely affect, in any way any rights, claims and
interests of the Purchaser under the Sale Order, provided
further that nothing in this sentence or in the other
provisions of the Settlement Agreement shall provide the
Purchaser with rights or remedies which are more
expansive than those that are currently held by the
Purchaser under the Sale Order except to the extent that
such rights or remedies are expressly provided for in the
other provisions of the Settlement Agreement

lmmediately upon Bankruptcy Court approval of the
Settlement Agreement, reimbursement from the Debtors’
estate as part of the cure of the assumption of the Bin
Sponsor Agreement of any and all attorney fees, expenses
and disbursements incurred by Moneris in connection with
Debtors’ bankruptcy cases after October 26, 2009 through
approval of the Settlement Agreement by a final,
nonappealable order issued by the Bankruptcy Court; which
amount shall not be deducted from the Settlement
Escrowed Funds.

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Permanent lnjunction: Permanent injunction issued by the Bankruptcy Court of all
parties in interest in the Bankruptcy Cases against pursuit of
claims (i) released under the Settlement Agreement or (ii)
related to reserves identified in the Bankruptcy Cases as
part of the Settlement Escrowed Funds, except such
injunction shall exclude and not apply to (x) payments
provided for under the Settlement Agreement or requests
made by a merchant for return of a merchant reserve
pursuant to and in accordance with the terms of the
applicable merchant processing agreement by and among
the merchant, the Debtors and Moneris and the Bankruptcy
Court order approving the Settlement Agreement which
portion of a reserve was not previously paid (and not
otherwise disgorged) to Moneris and/or Purchaser as an
lndemnification Payment and (y) except as specifically
released herein by the Purchaser, any and all claims, rights
and interests of Purchaser arising under the Sale Order.

Merchants: F or clarification, prior to and after a Determination Date,
merchants seeking return payment, in part or in full, of a
reserve which was designated as a Rolling Reserve and
deposited into the Cure Reserve as defined in the Sale
Order, may contact a representative at Purchaser requesting
such return in accordance with the applicable merchant
processing agreement Payment of any such reserve to a
merchant is subject to the terms and conditions of the
applicable merchant processing agreement by and among
the merchant, the Debtors, Purchaser, as assignee and
Moneris.

Bankruptcy Court Approval: Except as otherwise provided for, the Settlement
Agreement is subject to the approval of the Bankruptcy
Court pursuant to a final and non-appealable order
therefrom.

Undersigned parties consent and agree to use best efforts to
obtain all court orders necessary to effectuate the
transactions contemplated in Settlement Agreement.

As soon as practicable, and in any event within 5 days after
the Settlement Agreement is executed, the Debtors will file
a motion in the Bankruptcy Court seeking approval thereof

lf the Bankruptcy Court denies the Debtors’ motion seeking
approval of the Settlement Agreement, the Settlement
Agreement shall terminate. ln the event of a termination

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pursuant to the preceding sentence, none of the terms and
statements of the Settlement Agreement, nor any part of
this Summary or any correspondence between or statements
of the Settling Parties related to the negotiation, drafting or
approval of this Summary or the Settlement Agreement
shall be argued or deemed to be an admission against such
party’s interest in any litigation between the Settling
Parties.

Representations and Warranties: Customary for this type of transaction, including, the
Settling Parties shall each represent and warrant that: (a)
each such entity has full power and authority to enter into
and execute the Settlement Agreement and to carry out the
obligations and covenants created thereby; (b) the execution
and delivery of the Settlement Agreement and the
performance of the obligations and covenants created
thereunder have been duly authorized by all necessary
corporate action on the part of each such party, and no
shareholder or other approval is necessary in order to bind
each such party thereto; and (c) the execution and delivery
of the Settlement Agreement and the performance of the
obligations and covenants created thereby are in the best
interest of each such party and will not result in any conflict
with or breach or violation of, or default under, the
certificate of incorporation or by-laws of such party.
Representation by Garrison Credit lnvestments I LLC that
Garrison Credit Gpportunities Holdings, L.P. was never and
is not a Term B Lender or Second Lien Lender and has no
claim against or interest in the Debtors.

Representation by Debtors that, except as set forth on the
Disclosure Schedules to the Settlement Agreement which
Disclosure Schedules shall include a listing of all unfunded
merchant reserves per merchant with a description of any
outstanding issues or disputes associated therewith, to their
knowledge and as of October 26, 2009, there are no monies
owing by the Debtors related to or arising out of unfunded
merchant reserves

Covenants Settlement Escrow Account documents to provide for
certifications made by the Settlement Escrow Agent to each
Settling Party on the 5th Business Day of each month as to
the holdings and transactions with respect to the Settlement
Escrowed Funds for the prior months end, including interest
received during such month and the type and source of such
interest and disbursements of interest. lnvestments by
Settlement Escrow Agent must be acceptable to each of

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Moneris, each Term A Party and after an Assumption
Transaction, Dymas Funding Company LLC,

Conditions Precedent: Customary and appropriate for transactions of this type,
including, without limitation, (i) execution and delivery of
satisfactory definitive documentation customary for such
transactions, (ii) bankruptcy court approval, (iii) obtaining
necessary third party approvals (if any), (iv) prompt
delivery to Moneris of drafts of the Settlement Escrow
Agreement, Settlement Agreement, and pleadings to
approve the Settlement Agreement; and (v) withdrawal with
prejudice of objections by Garrison Credit Opportunities
Holdings, L.P.

Events of Default: Events of default customary and appropriate for a
transaction of this kind and nature, including breach of any
material obligation under the Settlement Agreement or
Stipulation; certain bankruptcy or insolvency events.

Remedies for Default: Customary and appropriate for a transaction of this kind
and nature, including payment of legal fees and expenses
for prevailing, non-breaching parties by breaching parties.

Acknowledgments: Each of the Settling Parties acknowledges and agrees (a)
that the Settlement Agreement, only to the extent it pertains
to each Settling Party, and the transactions and documents
contemplated thereby, only to the extent it pertains to each
Settling Party, are fair and reasonable and are not
unconscionable or the result of any fraud, duress, coercion,
pressure or undue influence exercised by any party upon the
others or by any person or persons; (b) that it has had the
opportunity to obtain independent legal advice from
counsel of its own selection with respect to the Settlement
Agreement and the transactions and documents
contemplated thereby and its respective rights and
obligations thereunder; and (c) that it understands its
respective rights and obligations thereunder and the
relevant facts.

Each of the Settling Parties acknowledge that the
Settlement Agreement is entered into solely because of
desire on the part of all concerned to bring to a close, and to
foreclose, mutually vexatious litigation and shall never be
treated as, or claimed to be, an admission of liability, fault,
wrongdoing, injury or damages, all of which are, and
remain, disputed.

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Settlement Agreement Jointlv Drafted. The Settling Parties
acknowledge that they jointly contributed to the drafting of
the Settlement Agreement. ln the event of ambiguity, no
rule of contract interpretation or rule of contract
construction based on an allegation that one party to the
Settlement Agreement drafted the Settlement Agreement
shall be applied to construe the Settlement Agreement for
or against any party.

Challenges: Any action relating to the Settlement Agreement shall be
brought in the Bankruptcy Court unless and until the
bankruptcy cases are closed by order of the Bankruptcy
Court, after which such actions may be brought in the
federal or state courts of New York and the Settling Parties
consent to the personal jurisdiction of such court for such
an action and to the venue of such court.

Business Day: A day, other than a (i) Saturday, (ii) Sunday, or (iii) a day
on which the banks in lllinois are not open for business.

Governing Law: The Settlement Agreement shall be governed by, and
construed and interpreted in accordance with, the internal
laws of the State of New York, without regard to its choice
of law provisions.

[Sz'gnature pages follow ]

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Accepted and agreed to this 2nd day of June, 2010.

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DYMAS FUNDING COMPANY LLC
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individually and as agent for the Term B
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CYNERGY HOLDINGS, LLC

 

 

 

 

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WELLS FARGO CAPITAL FlNANCE, LLC
f/k/a WELLS FARGO FOOTHILL, LLC

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OFFICIAL COMMITTEE OF UNSECURED
CREDITORS OF CD LIQUIDATION CO.
PLUS, LLC, et al.

 

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